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UNITEI) sTATEs I)ISTRICT COURT ` 5<-§’ x
wEsTERN DlsTRICT oF TENNESSEE , /
EASTERN nlvlsloN ‘ ' ‘

 

DANIEL SMITH, )
Plaintiff j
v. j No. 99-1261 Bre-P
CORRECTIONS CORPORATION j
OF AMERICA, et al., )
Defendants §

 

AGREED ORDER OF DISMISSAL WITH PREJUDICE

 

All matters between the parties having been fully resolved and all parties being in
agreement that this cause should be dismissed in its entirety, with full prejudice, the
Court therefore finds that this cause should be dismissed, with full prejudice and,
accordingly:

IT IS, THEREFORE, ORDERED, ADJUDGED AND DECREED that this
cause be, and the same is hereby, dismissed against the Defendants, Corrections
Corporation of America, Doctor Crants, Prison Realty Trust, Inc., Correctional
Management Services Corporation, Prison Realty Management, Inc., and Prison
Management Services, Inc., with prejudice as an adjudication upon the merits, and it, is,

FURTHER, ORDERED, ADJUDGED AND DECREED that costs of this cause,
including filing fees, Will be paid by Plaintific and no discretionary costs, bill of cost,
expenses or any attorney fees, either by statute or contract, will be applied for or awarded by

either party

Thls document entered on the docket sh et ln compliance
with Hule 58 and,‘or_79 (a) FRCP on _fi_'EL/_O_§___ \p

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' ““" dea
Dated: this / day of , 2005.
J. DANIEL BREEN\
NIT D sTATEs DIsTRJCT JUDGE

APPROVED FOR EN'I`RY:

 

 

 

JAME§ 1. PENTECOST /WAY’N~E'A. R'ITCHlE, ll
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CERTIFICATE OF SERV]CE

l certify that a copy of the foregoing has been served by U.S. mail upon Wayne
A. Ritchie, II and Robert W. Ritchie, Ritchie Fels & Dillard, P.C., P.O. BoX 1126,
Knoxville, TN 37901-1126 and W. Gasttm Fairey, LLC, 1722 Main Street, Suite 300,
Columbia, sc 29201 on nme H, 2005.

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By: C%%MW QSJZfdv\-J

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Brandon O. Gibson (#21485)
Attorneys for Defendants

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 96 in
case 1:99-CV-01261 was distributed by faX, mail, or direct printing on
.luly 6, 2005 to the parties listed.

 

 

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Honorable .l. Breen
US DISTRICT COURT

